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           EXHIBIT A
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                                  “NOT LIKE US” – LYRICS
Psst, I see dead people
(Mustard on the beat, hoe)
Ayy, Mustard on the beat, hoe
Deebo, any rap nigga, he a free throw
Man down, call an amberlamps, tell him, "Breathe, bro"
Nail a nigga to the cross, he walk around like Teezo
What's up with these jabroni-ass niggas tryna see Compton?
The industry can hate me, fuck 'em all and they mama
How many opps you really got? I mean, it's too many options
I'm finna pass on this body, I'm John Stockton
Beat your ass and hide the Bible if God watchin'
Sometimes you gotta pop out and show niggas
Certified boogeyman, I'm the one that up the score with 'em
Walk him down, whole time I know he got some hoe in him
Pole on him, extort shit, bully, Death Row on him
Say, Drake, I hear you like 'em young
You better not ever go to cell block one
To any bitch that talk to him and they in love
Just make sure you hide your lil' sister from him
They tell me Chubbs the only one that get your hand-me-downs
And PARTY at the party, playin' with his nose now
And Baka got a weird case, why is he around?
Certified Lover Boy? Certified pedophiles
Wop, wop, wop, wop, wop, Dot, fuck 'em up
Wop, wop, wop, wop, wop, I'ma do my stuff
Why you trollin' like a bitch? Ain't you tired?
Tryna strike a chord and it's probably A-Minor
They not like us, they not like us, they not like us
They not like us, they not like us, they not like us
You think the Bay gon' let you disrespect Pac, nigga?
I think that Oakland show gon' be your last stop, nigga
Did Cole fouI, I don't know why you still pretendin'
What is the owl? Bird niggas and bird bitches, go
The audience not dumb
Shape the stories how you want, hey, Drake, they're not slow
Rabbit hole is still deep, I can go further, I promise
Ain't that somethin'? B-Rad stands for bitch
And you Malibu most wanted
Ain't no law, boy, you ballboy, fetch Gatorade or somethin'
Since 2009, I had this bitch jumpin'
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You niggas'll get a wedgie, be flipped over your boxers
What OVO for? The "Other Vaginal Option"? Pussy
Nigga better straighten they posture, got famous all up in Compton
Might write this for the docket, tell the pop star, "Quit hidin'"
Fuck a caption, want action, no accident, and I'm hands-on
He fuck around, get polished
Fucked on Wayne girl while he was in jail, that's connivin'
Then get his face tatted like a bitch apologizin'
I'm glad DeRoz' came home, y'all didn't deserve him neither
From Alondra down to Central, nigga better not speak on Serena
And your homeboy need subpoena, that predator move in flocks
That name gotta be registered and placed on neighborhood watch
I lean on you niggas like another line of Wock'
Yeah, it's all eyes on me, and I'ma send it up to Pac, ayy
Put the wrong label on me, I'ma get 'em dropped, ayy
Sweet Chin Music, and I won't pass the aux, ayy
How many stocks do I really have in stock? Ayy
One, two, three, four, five, plus five, ayy
Devil is a lie, he a 69 God, ayy
Freaky-ass niggas need to stay they ass inside, ayy
Roll they ass up like a fresh pack of 'za, ayy
City is back up, it's a must, we outside, ayy
They not like us, they not like us, they not like us
They not like us, they not like us, they not like us
Once upon a time, all of us was in chains
Homie still doubled down callin' us some slaves
Atlanta was the Mecca, buildin' railroads and trains
Bear with me for a second, let me put y'all on game
The settlers was usin' town folk to make 'em richer
Fast-forward, 2024, you got the same agenda
You run to Atlanta when you need a check balance
Let me break it down for you, this the real nigga challenge
You called Future when you didn't see the club (ayy, what?)
Lil Baby helped you get your lingo up (what?)
21 gave you false street cred
Thug made you feel like you a slime in your head (ayy, what?)
Quavo said you can be from Northside (what?)
2 Chainz say you good, but he lied
You run to Atlanta when you need a few dollars
No, you not a colleague, you a fuckin' colonizer
The family matter, and the truth of the matter
It was God's plan to show y'all the liar
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Mm
Mm-mm
He a fan, he a fan, he a fan (mm)
He a fan, he a fan, he a-
Freaky-ass nigga, he a 69 God
Freaky-ass nigga, he a 69 God
Hey, hey, hey, hey, run for your life
Hey, hey, hey, hey, run for your life
Freaky-ass nigga, he a 69 God
Freaky-ass nigga, he a 69 God
Hey, hey, hey, hey, run for your life
Hey, hey, hey, hey, run for your life
Let me hear you say, "OV-hoe" (OV-hoe)
Say, "OV-hoe" (OV-hoe)
Then step this way, step that way
Then step this way, step that way
Are you my friend?
Are we locked in?
Then step this way, step that way
Then step this way, step that way




Source: Not Like Us, Musixmatch (May 4, 2024), https://www.musixmatch.com/lyrics/Kendrick-
Lamar/Not-Like-Us.
